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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


   IN RE: JOHNSON & JOHNSON                   Civil Action No. 3:16-md-2738-
   TALCUM POWDER PRODUCTS                     FLW-LHG
   MARKETING, SALES
   PRACTICES, AND PRODUCTS                    MDL No. 2738
   LIABILITY LITIGATION


  THIS DOCUMENT RELATES TO ALL CASES


   MOTION AND NOTICE OF MOTION OF THE PLAINTIFFS’ STEERING
           COMMITTEE TO EXCLUDE THE OPINIONS OF
          DRS. ANN G. WYLIE AND MELINDA DARBY DYAR


        PLEASE TAKE NOTICE, that pursuant to Fed. R. Evid. 104(a), 403, 702,

  and 703, the Plaintiffs’ Steering Committee (“PSC”) hereby moves to exclude the

  opinions and testimony of Drs. Ann G. Wylie and Melinda Darby Dyar.

        For the reasons set forth more fully in the following accompanying materials,

  the Court should grant the PSC’s motion:

        • The Plaintiffs’ Steering Committee’s Omnibus Brief Regarding
          Daubert Legal Standard and Scientific Principles for Assessing
          General Causation;

        • The Plaintiffs’ Steering Committee’s Memorandum of Law in
          Support of Motion to Exclude the Geologic Testing Opinions of Drs.
          Ann G. Wylie and Melinda Darby Dyar; and,

        • Certification of Counsel with attached Exhibits.
        A proposed form of order is attached.


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  Dated:      May 7, 2019            Respectfully submitted,

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